                       Case 1:18-cv-00300-REB Document 8 Filed 07/16/18 Page 1 of 2
                                                                                                        (b)(1)(A),MAG,LC1
                       US District Court Electronic Case Filing System
                                   District of Utah (Central)
                   CIVIL DOCKET FOR CASE #: 2:17−cv−00750−JNP−BCW

C. v. Blue Cross Blue Shield of Idaho                                      Date Filed: 07/06/2017
Assigned to: Judge Jill N. Parrish                                         Jury Demand: None
Referred to: Magistrate Judge Brooke C. Wells                              Nature of Suit: 791 Labor: E.R.I.S.A.
Cause: 29:1001 E.R.I.S.A.: Employee Retirement                             Jurisdiction: Federal Question
Plaintiff
Jacob C.                                                   represented by Brian S. King
                                                                          336 S 300 E STE 200
                                                                          SALT LAKE CITY, UT 84111
                                                                          (801)532−1739
                                                                          Email: brian@briansking.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED


V.
Defendant
Blue Cross Blue Shield of Idaho
TERMINATED: 08/09/2017

Defendant
Blue Cross of Idaho Health Service
doing business as
Blue Cross of Idaho


 Date Filed       #   Docket Text

 07/06/2017     Ï1    Case has been indexed and assigned to Judge Jill N. Parrish. Plaintiff Jacob C. is directed to E−File
                      the Complaint and cover sheet (found under Complaints and Other Initiating Documents) and pay
                      the filing fee of $ 400.00 by the end of the business day.
                      NOTE: The court will not have jurisdiction until the opening document is electronically filed and
                      the filing fee paid in the CM/ECF system.
                      Civil Summons may be issued electronically. Prepare the summons using the courts PDF version
                      and email it to utdecf_clerk@utd.uscourts.gov for issuance. (tlh) (Entered: 07/06/2017)

 07/06/2017     Ï2    COMPLAINT against Blue Cross Blue Shield of Idaho (Filing fee $ 400, receipt number
                      1088−2792173) filed by Jacob C.. (Attachments: # 1 Civil Cover Sheet civil cover sheet) Assigned
                      to Judge Jill N. Parrish (King, Brian) (Entered: 07/06/2017)

 08/09/2017     Ï3    AMENDED COMPLAINT against Blue Cross Blue Shield of Idaho. New Defendants: Blue Cross
                      of Idaho Health Service, Inc. dba Blue Cross of Idaho. Removed Defendants: Blue Cross Blue
                      Shield of Idaho. filed by Jacob C.. (King, Brian) (Entered: 08/09/2017)

 08/10/2017     Ï4    CIVIL STANDING ORDER. Signed by Judge Jill N. Parrish on 8/10/17. (ss) (Entered: 08/10/2017)

 08/11/2017     Ï5
                   Case 1:18-cv-00300-REB Document 8 Filed 07/16/18 Page 2 of 2
                  ORDER REFERRING CASE to Magistrate Judge Brooke C. Wells under 28:636 (b)(1)(A),
                  Magistrate to hear and determine all nondispositive pretrial matters. No attached document. Signed
                  by Magistrate Judge Brooke C. Wells on 8/11/17. (jlw) (Entered: 08/11/2017)

07/11/2018   Ï6   MOTION to Change Venue filed by Plaintiff Jacob C.. (Attachments: # 1 Text of Proposed Order)
                  Motions referred to Brooke C. Wells.(King, Brian) (Entered: 07/11/2018)

07/12/2018   Ï7   ORDER granting 6 Motion to Change Venue. It is ORDERED that this matter shall be transferred to
                  the United States District Court for the District of Idaho. Signed by Judge Jill N. Parrish on
                  7/12/2018. (jds) (Entered: 07/12/2018)
